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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                        *
                                                *
                                                *             NO: 4:05CR00213-03         SWW
VS.                                             *
                                                *             NO: 4:09CV00235            SWW
                                                *
ANTERRYO JERMAINE TODD                          *
                                                *


                                              ORDER

       By order entered June 11, 2009, the Court dismissed Defendant Anterryo Jermaine

Todd’s motion to vacate, set aside or correct his sentence pursuant to 28 U.S.C. § 2255, finding

that the record conclusively shows that he is not entitled to relief. On July 14, 2009, Defendant

Todd filed a notice of appeal and a motion for a certificate of appealability (docket entry #173).

After careful consideration, the motion for a certificate of appealability will be denied.

       Before Defendant Todd may appeal the denial of his § 2255 motion, a certificate of

appealability must issue. Under 28 U.S.C. § 2253(c)(2), a certificate of appealability may issue

only if the applicant has made a substantial showing of the denial of a constitutional right. A

“substantial showing of the denial of a constitutional right” requires a demonstration “that

reasonable jurists could debate whether (or, for that matter, agree that) the petition should have

been resolved in a different manner or that the issues presented were ‘adequate to deserve

encouragement to proceed further.’” Slack v. McDaniel, 529 U.S. 473, 484 (2000) (quoting

Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).

       For the reasons thoroughly discussed in the Court's order denying Defendant Todd’s


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motion to vacate, set aside or correct his sentence, the Court concludes that the Defendant has

not made a substantial showing of the denial of a constitutional right as required by 28 U.S.C.

§ 2253(c).

       IT IS THEREFORE ORDERED that Defendant Anterryo Jermaine Todd’s motion for a

certificate of appealability (docket entry #173) is DENIED.

       IT IS SO ORDERED THIS 21ST DAY OF JULY, 2009



                                             /s/Susan Webber Wright

                                             UNITED STATES DISTRICT JUDGE




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